                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION


        LONNIE BILLARD,

                Plaintiff,

                v.                                         Civil Action No. 3:17-cv-0011

        CHARLOTTE CATHOLIC HIGH SCHOOL,
        MECKLENBURG AREA CATHOLIC
        SCHOOLS, and ROMAN CATHOLIC
        DIOCESE OF CHARLOTTE,

                Defendants.



          PLAINTIFF’S SUPPLEMENTAL MEMORANDUM OF LAW
 IN SUPPORT OF PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
 AND IN OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       Pursuant to this Court’s order dated June 16, 2018 (ECF No. 44), Plaintiff Lonnie Billard

submits this supplemental memorandum of law regarding Masterpiece Cakeshop, Ltd. v.

Colorado Civil Rights Comm’n, 138 S. Ct. 1719 (2018), in support of Plaintiff’s Motion for

Partial Summary Judgment (ECF No. 26) and in opposition to Defendants’ Motion for Summary

Judgment (ECF No. 29).

                                       INTRODUCTION

       Plaintiff Lonnie Billard taught drama at Charlotte Catholic High School for more than a

decade and continued to work as a substitute teacher after retirement. But after he decided to

marry his long-time partner, Defendants fired him “because he is a man who intended to, and

did, marry another man,” Compl. ¶ 32; Answer ¶ 32. In doing so, Defendants violated Title VII

of the Civil Rights Act of 1964, which prohibits covered employers from “fail[ing] or refus[ing]



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to hire or to discharge any individual . . . because of such individual’s . . . sex.” 42 U.S.C. §

2000e-2(a)(1). See Zarda v. Altitude Express, Inc., 883 F.3d 100 (2d Cir. 2018) (en banc), pet.

for certiorari filed, May 29, 2018; Hively v. Ivy Tech Cmty. Coll. of Ind., 853 F.3d 339, 340 (7th

Cir. 2017) (en banc).

       Defendants have argued that applying Title VII to their decision to fire Mr. Billard would

violate their First Amendment rights to freedom of association, see Defs.’ Opp’n 11-15, and

would violate the Religious Freedom Restoration Act (“RFRA”), see Defs.’ Opp’n 19-20.

Plaintiffs have already explained why neither of those affirmative defenses allows a religiously

affiliated employer to discriminate against a non-ministerial employee in violation of a generally

applicable antidiscrimination statute such as Title VII. See Pl’s. Reply 2-5. Although the First

Amendment provides religious organizations with a “ministerial exception” to Title VII for

employees who perform religious functions, Defendants stipulated away any argument based on

the “ministerial exception” in this case. See Pl.’s Mem. 14-15; Pl.’s Opp’n 9-10.

       The Supreme Court’s recent decision in Masterpiece further demonstrates why

Defendants’ affirmative defenses fail as a matter of law.

I.     Masterpiece Confirms Defendants Do Not Have a First Amendment Right to
       Discriminate Against Non-Ministerial Employees In Violation of Title VII Based on
       Religious Beliefs About Marriage.

       Masterpiece reaffirms that the First Amendment does not provide a right to discriminate

against same-sex couples in the commercial marketplace in violation of generally applicable

antidiscrimination statutes. The Supreme Court granted certiorari in Masterpiece to decide

whether a bakery had a right under the Free Speech or Free Exercise Clause of the First

Amendment to refuse to sell wedding cakes to same-sex couples in violation of a Colorado

public accommodations statute prohibiting discrimination based on sexual orientation. In its



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decision, however, the Supreme Court declined to address the bakery’s free speech arguments

and instead held that the Colorado Civil Rights Commission violated the baker’s freedom of

religion by expressing hostility toward his religious beliefs at a commission hearing. See

Masterpiece, 138 S. Ct. at 1729-32.

       Critically, the Supreme Court did not hold that the statute itself violated the bakery’s First

Amendment rights. To the contrary, the Supreme Court reaffirmed that neutral and generally

applicable laws protecting same-sex couples from discrimination are constitutional:

       Our society has come to the recognition that gay persons and gay couples cannot
       be treated as social outcasts or as inferior in dignity and worth. For that reason the
       laws and the Constitution can, and in some instances must, protect them in the
       exercise of their civil rights. The exercise of their freedom on terms equal to
       others must be given great weight and respect by the courts. At the same time, the
       religious and philosophical objections to gay marriage are protected views and in
       some instances protected forms of expression. As this Court observed in
       Obergefell v. Hodges, 576 U.S. ––––, 135 S. Ct. 2584, 192 L.Ed.2d 609 (2015),
       “[t]he First Amendment ensures that religious organizations and persons are given
       proper protection as they seek to teach the principles that are so fulfilling and so
       central to their lives and faiths.” Id., at ––––, 135 S.Ct., at 2607. Nevertheless,
       while those religious and philosophical objections are protected, it is a general
       rule that such objections do not allow business owners and other actors in the
       economy and in society to deny protected persons equal access to goods and
       services under a neutral and generally applicable public accommodations law. See
       Newman v. Piggie Park Enterprises, Inc., 390 U.S. 400, 402, n. 5, 88 S.Ct. 964,
       19 L.Ed.2d 1263 (1968) (per curiam ); see also Hurley v. Irish–American Gay,
       Lesbian and Bisexual Group of Boston, Inc., 515 U.S. 557, 572, 115 S.Ct. 2338,
       132 L.Ed.2d 487 (1995) (“Provisions like these are well within the State’s usual
       power to enact when a legislature has reason to believe that a given group is the
       target of discrimination, and they do not, as a general matter, violate the First or
       Fourteenth Amendments”).

Id. at 1727. The Court cautioned that such cases should be adjudicated “with tolerance, without

undue disrespect to sincere religious beliefs, and without subjecting gay persons to indignities

when they seek goods and services in an open market.” Id. at 732.

       Under Masterpiece, Defendants’ First Amendment arguments must be rejected. Title VII

is a neutral and generally applicable law, and—unlike the members of the Colorado Civil Rights

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Commission—this Court will provide the fair and impartial adjudication that the Constitution

requires. This case therefore falls under the “general rule” that employers do not have a First

Amendment right to discriminate in violation of an anti-discrimination statute. Id. at 1727.

         To be sure, religious organizations—including Defendants—are entitled to an exemption

under the First Amendment if the employee’s job position qualifies for the “ministerial

exception” to Title VII. As Masterpiece noted, “a member of the clergy who objects to gay

marriage on moral and religious grounds could not be compelled to perform the ceremony.” Id.

But Defendants expressly stipulated away any defense based on the ministerial exception in this

case. “Where no spiritual function is involved, the First Amendment does not stay the application

of a generally applicable law such as Title VII to the religious employer unless Congress so

provides.” EEOC v. Roman Catholic Diocese of Raleigh, N.C., 213 F.3d 795, 801 (4th Cir.

2000).

II.      Masterpiece Confirms That Applying Title VII To Discrimination Against Same-Sex
         Couples Does Not Violate RFRA.

         Under Masterpiece, Defendants’ affirmative defense based on RFRA should also be

rejected. As explained in Plaintiff’s previous briefing, RFRA does not apply to litigation

between private parties. See Pl’s. Reply 3. Moreover, when RFRA does apply, prohibiting

employers from engaging in sex discrimination against non-ministerial employees satisfies

RFRA’s test, which provides that “Government may substantially burden a person’s exercise of

religion” when “application of the burden to the person . . . is in furtherance of a compelling

governmental interest; and . . . is the least restrictive means of furthering that compelling

governmental interest.” 42. U.S.C. § 2000bb-1(b). See Pl’s. Reply 3-5. Indeed, although

Defendants’ briefs placed great reliance on the district court decision in EEOC v. R.G. & G.R.

Harris Funeral Homes, Inc., 201 F. Supp. 3d 837 (E.D. Mich. 2016) (concluding that application

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of Title VII violated RFRA), that decision was recently overturned by the Sixth Circuit on

appeal, see 884 F.3d 560 (2018).

       Masterpiece further reinforces Plaintiff’s argument that prohibiting employment

discrimination against same-sex couples is a compelling governmental interest under RFRA’s

test. The Supreme Court made clear that “the laws and the Constitution can, and in some

instances must, protect them in the exercise of their civil rights. The exercise of their freedom on

terms equal to others must be given great weight and respect by the courts.” Masterpiece, 138 S.

Ct. at 1727. To reinforce the point, the Court cited to a case involving race discrimination. See id.

(citing Newman v. Piggie Park Enterprises, Inc., 390 U.S. 400, 402, n.5 (1968) (per curiam)).

Thus, when a religious employer decides to enter the commercial marketplace and hire non-

ministerial employees to perform secular functions, the government has a compelling interest in

protecting those employees—including same-sex couples—from discrimination on the basis of

sex, and Title VII is “precisely tailored to achieve that critical goal.” Burwell v. Hobby Lobby

Stores, Inc., 134 S. Ct. 2751, 2783 (2014); see R.G. &. G.R. Harris Funeral Homes, 884 F.3d at

595.

                                         CONCLUSION

       For all these reasons—and for the reasons discussed in Plaintiff’s previous submissions—

Plaintiff’s motion for partial summary judgment should be granted, and Defendants’ motion for

summary judgment should be denied.



Dated: July 13, 2018                          Respectfully submitted,

                                                  /s/ Joshua A. Block

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                                CERTIFICATE OF SERVICE

       I hereby certify that on this date, I electronically filed a copy of forgoing document with

the Clerk of Court using the CM/ECF system. All participants in the case are registered CM/ECF

users and are hereby served through the CM/ECF system.

Dated: July 13, 2018
                                             /s/Joshua A. Block
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